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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

MAVERICK GAMING, LLC,

                          Plaintiff,

       v.

UNITED STATES OF AMERICA,
UNITED STATES DEPARTMENT OF                         Civil Action NO. 1:22-cv-00068-FYP
THE INTERIOR, DEB HAALAND,
BRYAN NEWLAND, JAY INSLEE,
ROBERT FERGUSON, BUD
SIZEMORE, JULIA PATTERSON,
ALICIA LEVY, KRISTINE REEVES,
SARAH LAWSON, STEVE CONWAY,
JEFF HOLY, SHELLEY KLOBA,
BRANDON VICK, and TINA GRIFFIN,

                          Defendants.


   DECLARATION OF BRIAN H. ROWE IN SUPPORT OF STATE DEFENDANTS’

                                   MOTION TO TRANSFER

       I, BRIAN H. ROWE, declare as follows:

       1.      I am an Assistant Attorney General in the Complex Litigation Division of the

Washington State Attorney General’s Office. I represent the Washington State Defendants in the

above-captioned litigation. Unless otherwise noted, the information set out in this declaration is

based on my personal knowledge and my review of the files and records in this case.

       2.      Attached as Exhibit A is a true and correct copy of the Articles of Conversion of

Maverick Gaming, LLC filed with the Washington Secretary of State on February 11, 2022.




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       I declare under penalty of perjury under the laws of the District of Columbia that the

foregoing is true and correct.

DATED this 24th day of February, 2022

                                                     s/ Brian H. Rowe
                                                     BRIAN H. ROWE, WSBA No. 56817
                                                     Assistant Attorney General
                                                     800 Fifth Avenue, Suite 2000
                                                     Seattle, WA 98104-3188
                                                     (206) 464-7744




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                                CERTIFICATE OF SERVICE

       I certify, under penalty of perjury under the law of the District of Columbia, that the

foregoing was electronically filed in the United States District Court for the District of Columbia

and electronically served on the following parties:

       Theodore B. Olson, DCBA No.
       Matthew D. McGill, DCBA 481430
       Lochlan F. Shelfer, DCBA No. 1029799
       Gibson, Dunn & Crutcher LLP
       1050 Connecticut Avenue, N.W.
       Washington, D.C. 20036
       (202) 955 – 8668
       tolson@gibsondunn.com

       DATED this 24th day of February 2022.

                                                         ROBERT W. FERGUSON
                                                         Attorney General of Washington

                                                         s/ Kristin Beneski
                                                         KRISTIN BENESKI, WSBA No. 45478
                                                         First Assistant Attorney General




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